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 6   EXPRESS, INC., a California corporation; KING'S EXPRESS, INC., an Unknown Business
     Entity and DENNIS MCCORMICK, an Individual.
 7

 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10

11   PRO-COM PRODUCTS, INC. a California      )    CASE NO.
     corporation,                             )
12                                            )    NOTICE OF REMOVAL
                                              )
13                         Plaintiff,         )    28 U.S.C. §§1441, et seq.
                                              )
14          vs.                               )
     KING'S EXPRESS LA, INC., a California    )
15   corporation; KING'S EXPRESS, INC., a     )
     California Corporation; KING'S EXPRESS, )
16   INC., an Unknown Business Entity; DENNIS )
     MCCORMICK, an Individual; JOHN           )
17   VINCENT TARWATER, an individual; and )
     DOES 1 through 25, inclusive,            )
18                                            )
                                              )
19                                            )
                                              )
20                         Defendants.        )
                                              )
21
           TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
22
     CENTRAL DISTRICT OF CALIFORNIA, THE PARTIES AND COUNSEL:
23
           PLEASE TAKE NOTICE THAT DEFENDANTS KING'S EXPRESS LA, INC., a
24
     California corporation; KING'S EXPRESS, INC., a California corporation; KING'S EXPRESS,
25
     INC., an Unknown Business Entity and DENNIS MCCORMICK, an Individual hereby remove
26

27   ______________________________________________________________________________
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 1   this action now in the Superior Court for the State of California, County of Los Angeles, Central

 2   District, Case No. BC710498, PRO-COM PRODUCTS, INC. a California corporation, Plaintiff,

 3   vs. KING'S EXPRESS LA, INC., a California corporation; KING'S EXPRESS, INC., a

 4   California Corporation; KING'S EXPRESS, INC., an Unknown Business Entity; DENNIS

 5   MCCORMICK, an Individual; JOHN VINCENT TARWATER, an individual; and DOES 1

 6   through 25, inclusive, (“the action”) to the United States District Court for the Central District of

 7   California, pursuant to 28 U.S.C. §§1441, et seq. and aver as follows.

 8          1.      According to paragraph 12 of the Complaint, a copy of which is attached

 9   hereto, Plaintiff, Pro-Com Products, Inc. ("Pro-Com") hired the defendant Kings Express, Inc.

10   (“Kings”), a motor carrier, to transport its cargo in interstate commerce. According to paragraph

11   13 of the Complaint, between September l, 2017 through December 2017, Kings contracted

12   with various 3rd party "shippers" (understood to mean the carriers which were to transport its

13   cargo), brokers, and consignees located throughout the United States to secure motor vehicle

14   transportation of property in commerce. Further, according to paragraph 14 of the Complaint, in

15   or about November 2017 Kings, et al. stopped and caused all shipment of Plaintiff's products to

16   cease. Pro-Com seeks damages of $1,239,808.12 based on California state law causes of action

17   for fraud and deceit, negligent misrepresentation, breach of contract, conversion and negligence.

18          2.      The gravaman of Pro-Com’s Complaint is contained in its breach of contract

19   cause of action in paragraphs 30-33 where, as here pertinent, it is alleged as follows:

20          “ 30.   In or about September 2017 through December 2017, Plaintiff entered into written

21          contract with KJNGS, whereby KINGS agreed to perform trucking and related services

22          with an agreed delivery date. Plaintiff would receive a purchase order ("PO") from

23          Plaintiff's customer and process the PO for shipment with a bill of lading ("BOL"). A

24          shipping invoice would. be created after Plaintiff's goods ("Goods") were picked up by

25          KINGS. (collectively "Contracts").

26          32.     KINGS breached the contract and failed to perform its promises and obligations in

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 1          that it failed to perform the trucking aud related services requested by Plaintjff. KINGS

 2          failed to perform the trucking services in a timely manner, and also failed to deliver goods

 3          to the destination - in some cases keeping or abandoning the Goods itself: However,

 4          KINGS invoiced and billed Plaintiff as if KINGS had properly performed the requested

 5          services.

 6          33.     As a proximate result of the acts and omissions of KINGS, Plaintiff has been

 7          injured and damaged in excess of $1,239,808.12.

 8          3.      The action arises under the Carmack Amendment in 49 U.S.C. §14706(a), the

 9   federal law governing liability of motor carriers and forwarders for loss, damage or delay to

10   cargo transported in interstate commerce. This United States District Court has federal question

11   and commerce jurisdiction over the subject matter under 28 U.S.C. §§1331 and 1337 and the

12   action is therefore removable under 28 U.S.C. §§1441, et seq. See for example, White v

13   Mayflower Transit, L.L.C. 543 F.3d 581 (9th Cir. 2008).

14          4.      The removal is timely as it is within 30 days of the filing of the action in the Los

15   Angeles Superior Court.

16          5.      Venue is proper because the parties conduct business in this in the district.

17          6.      All of the named parties with the exception of defendant John Vincent Tarwater

18   are represented by the undersigned counsel and consent to the removal. The Court is advised that

19   Mr. Tarwater also consents to the removal.

20   Dated: July 11, 2018

21                                                    MILES L. KAVALLER,
                                                   A PROFESSIONAL LAW CORP.
22

23                                                By:_____________________________
                                                          Miles L. Kavaller, Esq.
24                                         Attorney for Defendants, KING'S EXPRESS LA, INC., a
                                           California corporation; KING'S EXPRESS, INC., a
25                                         California corporation; KING'S EXPRESS, INC., an
                                           Unknown Business Entity and DENNIS MCCORMICK, an
26                                         Individual.

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                             EXHIBIT
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